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                7 FORD MOTOR COMPANY

                8
                                                     UNITED STATES DISTRICT COURT
                9
                                                   EASTERN DISTRICT OF CALIFORNIA
              10

              11
                 STEVEN R. MIRONOWSKI and RUBEN                               CASE NO. 1:22-cv-00675-JLT-CDB
              12 MIRONOWSKI,
                                                                            DECLARATION OF JACOB DOSS IN
              13                                                            SUPPORT OF DEFENDANT FORD
                                     Plaintiffs,                            MOTOR COMPANY’S MOTION FOR
              14                                                            ENTRY OF PROTECTIVE ORDER TO
                             vs.                                            GOVERN PRODUCTION OF
              15                                                            CONFIDENTIAL MATERIALS
                 FORD MOTOR COMPANY; JIM BURKE
              16 FORD; and DOES 1 through 10, inclusive,

              17                     Defendants.
              18

              19
                                                          DECLARATION OF JACOB DOSS
              20
                             I, Jacob Doss, declare and state as follows:
              21
                             1.      I am over the age of 18, have personal knowledge of the matters set forth in this
              22
                     Declaration unless otherwise stated, and if called as a witness, I would be competent to testify to the
              23
                     matters in this Declaration. The facts stated in this Declaration are true and correct.
              24
                             2.      I am employed by Ford Motor Company (“Ford”). I have worked as a Manager in
              25
                     Ford’s Customer Relationship Center since 2012. I have also held Zone Manager, Field Service
              26
                     Engineer, and Service Engineer positions at Ford.
              27
                             3.      As part of my job responsibilities and duties, and based on my background and
              28
                     experience with Ford, I am familiar with various types of documents that Ford generates in its
                       DECLARATION OF JACOB DOSS IN SUPPORT OF DEFENDANT FORD MOTOR COMPANY’S MOTION
                        FOR ENTRY OF PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL MATERIALS
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                1 normal course of business, including warranty manuals, customer care policies and procedures, and

                2 reacquired vehicle manuals, and why such documents and information are considered by Ford to be

                3 confidential. Moreover, I am familiar with the nature of the information in these confidential Ford

                4 documents, and the steps Ford takes to maintain their confidentiality or restrict public disclosure of

                5 this information.

                6            4.      Ford protects its confidential information and documents from public disclosure
                7 because the documents and information are proprietary to Ford, constitute Ford’s trade secrets and

                8 business intelligence, would be of value to Ford’s competitors or could be used to cause injury to

                9 Ford if such information were made public or otherwise available to those outside of Ford. Ford

              10 protects its confidential and proprietary information and trade secretes by limiting disclosure and

              11 access to such information both inside and outside of the Company.

              12             5.      In this Declaration, I discuss certain proprietary, trade secret, and confidential
              13 information of Ford. In executing this Declaration, I do not intend, and Ford has not authorized me,

              14 to waive any protections or privileged Ford may have as to proprietary, trade secret, and/or

              15 confidential information, or as to attorney-client communications or information developed in

              16 anticipation of or in response to litigation.

              17             6.      The documents are described as follows:
              18                     a.       Ford’s Warranty Policy & Procedure Manuals, which are documents that
              19 detail the policies and procedures that Ford developed over time for use by its dealers in the United

              20 States regarding warranty claim diagnosis, submission, allowance and reimbursement;

              21                     b.       Ford’s Customer Relationship Center (“CRC”) Policies and Procedures,
              22 which are developed and used by and for Ford’s Customer Relationship member and Customer

              23 Relationship Center, which handles, assesses, documents categorizes, and resolves customer

              24 concerns that are reported to Ford by consumers;

              25
                                     c.       Global Contact Center Technology (“GCCT”) application records, which
              26
                     contain information about when individuals contact Ford’s call center, including, but not limited to
              27
                     PII, such as addresses, phone numbers, and other information.
              28
                                                                        2
                       DECLARATION OF JACOB DOSS IN SUPPORT OF DEFENDANT FORD MOTOR COMPANY’S MOTION
                        FOR ENTRY OF PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL MATERIALS
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                1            7.      I have reviewed the documents identified in Paragraph 6 above and am familiar with

                2 each item.

                3            8.      These documents contain Ford’s sensitive, confidential and proprietary information.
                4 Customer Relationship Center Policies and Procedures

                5            9.      These documents are proprietary to Ford because they reveal Ford’s processes and
                6 methodologies to identify, document, assess and resolve customer or product concerns. In this

                7 regard, the documents address the specifics of how customer calls and contacts should be handled

                8 for a myriad of reasons, including inquiries regarding general information, vehicle concerns, parts,

                9 roadside assistance, owner communications, and others, and sets forth the process that each

              10 Customer Relationship member may follow to process, document, handle, and resolve those

              11 customer concerns. Furthermore, the documents address the role and responsibility within the

              12 Customer Relationship member, and reveal Ford’s process to address, record, resolve and where

              13 necessary, elevate customer concerns using Ford’s established processes, including the process

              14 through which customer concerns are processed, documented, handled, and resolved by Ford. How

              15 Ford classifies customer concerns, and how it determines when and whether to elevate a concern,

              16 repurchase a vehicle, or otherwise communicate with its customers, is proprietary to Ford (or its

              17 suppliers or vendors). Such information was developed by Ford (or its suppliers or vendors) over

              18 time and after considerable investment in its staff and its third-party vendors who operate Ford’s

              19 Customer Relationship Center.

              20             10.     Disclosure of these documents would benefit a Ford competitor training its own
              21 employees on customer communications or in developing its own process for such communications

              22 without the need to expend the same time and investment in creating these processes as incurred by

              23 Ford.

              24 Warranty Policy and Procedure Manual

              25
                             11.     Ford’s Warranty Policy and Procedure Manuals contain confidential processes
              26
                     established by Ford for its dealers to receive, execute, document and diagnose warranty and recall
              27
                     repairs in conformity with Ford’s defined processes and procedures, as well as the process that Ford
              28
                     dealers follow when submitting warranty reimbursement requests and includes proprietary
                                                                3
                       DECLARATION OF JACOB DOSS IN SUPPORT OF DEFENDANT FORD MOTOR COMPANY’S MOTION
                        FOR ENTRY OF PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL MATERIALS
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                1 discussions of allowances, costs, and reimbursements provided by Ford to its dealers relating to

                2 those warranty repairs. These nearly 400-page manuals contain detailed information regarding

                3 Ford’s warranty claim processes. Ford’s Warranty Policy & Procedures Manuals are confidential to

                4 Ford because they contain detailed information regarding Ford’s warranty claim processes. These

                5 practices and procedures were developed over time and with significant cost and investment by

                6 Ford. These documents are unique to Ford and would have value to Ford’s competitors if made

                7 public, because they would allow Ford’s competitors to replicate Ford’s warranty policies and

                8 procedures.

                9 GCCT Records

              10             12.     These documents contain records when individuals or entities contact Ford’s call
              11 center. These records may contain PII of customers, such as addresses, telephone numbers, or other

              12 information that is personal to each individual. Dissemination of this information would be a

              13 violation of each individual customer or entities privacy or private information without the customer

              14 or entities express consent. Ford values the protection of individual consumer’s private information.

              15             I declare under penalty of perjury under the laws of the State of California and the United
              16 States of America that the foregoing is true and correct.

              17

              18             Executed on March __2nd _ , 2023, at __Temecula__, California.
              19

              20
                                                               By:   ___________________________________
              21                                                                 Jacob Doss

              22

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                                                                        4
                      DECLARATION OF JACOB DOSS IN SUPPORT OF DEFENDANT FORD MOTOR COMPANY’S MOTION
                       FOR ENTRY OF PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL MATERIALS
                        Case 1:22-cv-00675-JLT-CDB    Document 17-1     Filed 03/09/23   Page 5 of 5


                    1                             CERTIFICATE OF SERVICE
                    2          I hereby certify that on March 9, 2023, a true and correct copy of the
                    3 foregoing DECLARATION OF JACOB DOSS IN SUPPORT OF

                    4 DEFENDANT FORD MOTOR COMPANY’S MOTION FOR ENTRY OF

                    5 PROTECTIVE ORDER TO GOVERN PRODUCTION OF CONFIDENTIAL

                    6 MATERIALS was filed electronically with the Clerk of the Court using the

                    7 CM/ECF System. Notice of this filing will be sent by operation of the Court’s

                    8 electronic filing system to all parties listed on the CM/ECF System. Parties may

                    9 access this filing through the Court’s electronic filing system.
                   10

                   11
                                                                   Cora Ruvalcaba
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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP                                                        1
ATTORNEYS AT LAW                                        CERTIFICATE OF SERVICE
